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CERTIFICATE OF SERVICE

I hereby certify that on June 16, 2017, a true and accurate copy of the foregoing Notice of
Appearance of co-counsel Evan A. Ostrer, Esq., and Order to Show Cause, Affidavit of Michael
Dardashtian in Support of Order to Show Cause and Memorandum of Law was filed
electronically and is available for viewing and downloading from the ECF system to:

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